Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01          Desc Main
                             Document      Page 1 of 6




  IT IS ORDERED as set forth below:



  Date: February 28, 2020
                                             _________________________________

                                                      Jeffery W. Cavender
                                                 U.S. Bankruptcy Court Judge

 ________________________________________________________________
Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01   Desc Main
                             Document      Page 2 of 6
Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01   Desc Main
                             Document      Page 3 of 6
Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01   Desc Main
                             Document      Page 4 of 6
Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01   Desc Main
                             Document      Page 5 of 6
Case 17-72105-jwc   Doc 37   Filed 02/28/20 Entered 02/28/20 14:34:01   Desc Main
                             Document      Page 6 of 6
